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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

   MICHAEL GONIDAKIS, MARY PARKER,
   MARGARET CONDITT, BETH
   VANDERKOOI, LINDA SMITH,
   DELBERT DUDUIT, THOMAS W. KIDD
   JR., DUCIA HAMM,
                                                    Case No. 2:22-cv-00773
          Plaintiffs,

   BRIA BENNETT, REGINA C. ADAMS,  Chief Judge Algenon L. Marbley
   KATHLEEN M. BRINKMAN, MARTHA    Judge Amul R. Thapar
   CLARK, SUSANNE L. DYKE, MERYL   Judge Benjamin J. Beaton
   NEIMAN, HOLLY OYSTER, CONSTANCE
   RUBIN, EVERETT TOTTY,

          Intervenor-Plaintiffs,

   v.

   FRANK LAROSE, in his capacity as Ohio
   Secretary of State,

          Defendant.


                               NOTICE REGARDING MAP FILES

         Intervenor-Plaintiffs Bria Bennett, Regina C. Adams, Kathleen M. Brinkman, Martha

  Clark, Susanne L. Dyke, Meryl Neiman, Holly Oyster, Constance Rubin, and Everett Totty (the

  “Bennett Petitioners”) respectfully submit this Notice to inform the Court that, if the Court (a)

  determines that it will order the use of a General Assembly plan for the 2022 election and (b)

  selects the Corrected Independent Map Drawers’ Plan or the Rodden III Plan, the Bennett

  Petitioners stand ready to supply Secretary LaRose with all of the plan files that the Secretary

  contends are “needed by the county boards of election to reprogram their voter registration systems

  and elections management systems.” ECF No. 164 at PageID # 5396 n.3. The Bennett Petitioners

  have already made Census block assignment files available for the Corrected Independent Map
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  Drawers’ Plan, ECF No. 177-1 at PageID # 5773 ¶ 6, and for the Rodden III Plan, ECF No. 107 at

  PageID # 2555 n.10; can provide the shape files and most populous county designations for both

  plans, as indicated in their April 11 brief, ECF No. 181 at PageID # 5903; and have prepared draft

  legal descriptions that the Secretary’s office may finalize as appropriate.



  Dated: April 18, 2022                                 Respectfully submitted,

  Abha Khanna**                                         /s/ Donald J. McTigue________
  Ben Stafford **                                       Donald J. McTigue* (OH 0022849)
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                                  CERTIFICATE OF SERVICE

          This is to certify a copy of the foregoing was served upon all counsel of record by means

   of the Court’s electronic filing system on this 18th Day of April, 2022.



                                                       /s/ Donald J. McTigue________
                                                       Donald J. McTigue (OH 0022849)
